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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA
AMIR WHITEHURST, : NO. 3217-CV-00903
Plaintiff
vs.

LACKAWANNA COUNTY,
et al.,

Defendants

VIDEOTAPE DEPOSITION OF DOMINIC A. SISTI, Ph.D.

Taken in the offices of Burns White, LLC,

100 Four Falls, Suite 515, 1001 Conshohocken State
Road, West Conshoshocken, Pennsylvania, on Friday,
February 22, 2019, commencing at 1:11 p.m., before

Sara J. Vanchure, Notary Public.

VERITEXT LEGAL SOLUTIONS
MID-ATLANTIC REGION

1801 Market Street - Suite 1800

Philadelphia, Pennsylvania 1919

EXHIBIT

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Page 2 Page 4 |
APPEARANCES: 1 INDEX OF WITNESSES
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Inc.; Edward Zaloga, D.O.; Alexis Moritzkat; Amy | 53
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"Nurse Ken" (Ken McCawley) 24 Deposition 6
Page 3 | Page 5
APPEARANCES CONT'D: 1 DEPOSITION SUPPORT INDEX
RNE 2 Direction to Witness Not to Answer
EIEBLANT GS WE REG 3 PAGE LINE PAGE LINE
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22 Questions Marked
23. PAGE LINE PAGE LINE

Also present: Ryan Morton

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Q. Very good. And so can you outline |
generally for me -- and be it from your report or |
whatever is easiest for you -- the documents that you |
reviewed and drafted in your report?
A.
Q.
A.
Bioethics Literature to start and then I drilled into |

And I do have copies of those, in fact. |
Okay. |
So I consulted with the Canon of

oN NN BR WN

the more specific literature on the ethics of 9

Page 12 |

have in terms of the records from the jail. There are |
records also from the offsite referral. |
Q: Oh, from Geisinger Medical Center?
A. Correct. Well, actually these are CCI |
records as well now that I look. Well, maybe not. |
Nope. They're Geisinger. Correct.
Q. Okay. The -- |
MR. PARKINS: I think there were -- there |
were, just for clarity, Geisinger records in the CCI |

correctional medicine, with a particular focus on | 10 records I think.
correctional mental healthcare; and then I reviewed ul MR. HEALEY: There are, yeah. |
the guidelines, statements, model processes and 12 THE WITNESS: I noticed that.
practices issued by professional organizations such as 13 MR. PARKINS: So do you have -- you have
the American Psychiatric Association, the National | 14 them all split up.
Commission for Correctional Mental Health, the 15 THE WITNESS: They were split up.
American Medical Association, and the American Academy 16 MR. PARKINS: You don't have them all as |
of Psychiatry and the Law. 17 one joint thing with how many pages it is? Okay.
THE VIDEOGRAPHER: I'm sorry, Doctor. Do | 18 BY MR. HEALEY:
you have the microphone on? 19 Q. Are you able to tell me what's the
THE WITNESS: Oh, I'm sorry. Oh, it fell 20 64-page PDF?
off. I apologize. I'll try it this way (indicating). 21 A. This appears to be the medical records --
BY MR. HEALEY: 22 Q Can I look over your shoulder?
Q. And in addition, Doctor, did you review (23 A. You sure can. Why not?
deposition transcripts? 24 Q Yeah.
Page 11 Page 13
A. Yes, I did. 1A. It starts with this page (indicating).
Q. Can you tell me -- 2 0. Okay. And then that's a 64-page document
A. I'm sorry. Can J tell you -- can you say 3 which you believe to be the entirety of the Lackawanna
that again? 4 County Prison medical chart that you received?
Q. Yeah. Whose deposition transcripts did 5 A. I don't know if it's the entirety or not.
you review? 6 Q. Oh, okay. Is that what -- are those the
A. The ones that are listed in the report 7 only records that you have, those 64 pages, which
and, in addition, the more recent reports by experts 8 would purport to be the Lackawanna County Prison
Evans, Folks, Hughes, and Joy. 9 medical chart for Mr. Whitehurst?
Q, Understood. And did you review the 10 A. I believe so.
entirety of the Lackawanna County Prison chart? 11Q. Okay. And the reason I ask, Dr. Sisti,
A. What was provided to me I reviewed. I'm | 12. is the chart that I have for the Lackawanna County
not sure if that was the entirety, but what was 13 Prison has 215 pages, but it appears that yours is
provided to me I reviewed. 14 just the 64 pages?
Q. Are you able to tell me, the copy that (15 A. Well, there -- as I mentioned, there were
you were provided of the medical records, how many 16 other files. So maybe you can take a look at these,
pages it was? 17 too. There's some documentation here, medical
A. Sure. I can look. 18 restriction sheets that might --
Q. Thanks. 19 Q. Okay.
A. Let's see here. So there's a number of 20 A. You know, might be in your portfolio.
files, all different PDF files here. Let's see. 21 Q. I see. Okay.
Onsite medical records. It appears to be -- at least | 22 A. And then there's some prescription logs
the one I have in front of me is 64 PDF pages, 23 here that might again be combined --
prescription logs, 52 pages. I believe that's all I 24 Q. Oh, okay

—__| ___

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LQ: Have you ever treated patients? | 1

2 A. I never -- I'm not a clinician. 2

3: 1Q: Okay. Have you ever been qualified as an | 3

4 expert in acase where you opined as to the standard | 4

5 of care of an internal medicine physician? 5

6 A. No. 6
7Q. Would you be qualified to do that? 7

8 A. If it's a clinical question, I would not 8

9 be. If it was an ethical question, I would be. 9
(10 Q. Okay. And how do you -- how do you make10
| 11. that distinction? 11
12 A. So clinical questions are questions 12
13 related to trajectory of care, specific medications 13

| 14 being used, interventions, you know, the standard 14
| 15 things that doctors have to figure out. Ethical | 15
16 questions are characterized generally by conflicts and 16
| 17 values when it's individuals. If it's an 17
/18 organizational issue, it might manifest as, say, 18
19 questions around particular policies or procedures | 19
20 related to -- related to clinical care. 20
21 So, for example -- I'll give you an 21
22 example where there's an interest -- there's a 22
23 distinction. With -- and we used the example of end | 23
24 of life care earlier. In looking at end of life care, 24

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1 there are certain kinds of clinical choices that one 1

2 can make; but when there's a conflict between those 2

3 choices, the ethicist maybe steps in to help 3

4 illuminate the different choices and, in doing so, 4

5 help to resolve a values conflict about what might the 5

6 patient want, how should they be treated, is it 6

7 ethical to, say, withdraw treatment at a particular 7

8 juncture or continue treatment at a particular 8

| 9 juncture. So they're related, but they're distinct. 9
10 Q. Would you agree with me that the standard 10
| 11 of medical care is something that you wouldn't be 11
12 qualified to testify to with respect to an internal 12

| 13. medicine physician? 13
14 A. I mean I think that I could opine on 14

| 15 pretty -- so like if an internal medicine physician 15
16 is -- let's use, like, a random example -- is, say, 16
17 prescribing medication and they have a conflict of 17
18 interest, it might be an appropriate, you know, 18
19 medication, you know, but they might be, say, taking 19
20 payments from a pharmaceutical company, in which case | 20

| 21 I would be able to say they're violating a standard of 21
22 care. That's not appropriate. That's unethical. It 22
23 might be that the drug is okay, but the milieu or the 23
24 context within which that practice is happening there | 24

Page 20 |
are ethical problems. |
Q.
can't comment upon the care, treatment, medications,
orders, things of that nature from a medical
standpoint; but in terms of ethical relationships or |
things of that nature, that you would be able to
comment on? |

I understand. So, for our purposes, you

A. I think that's correct.

Q. Okay.

A. If you -- could you repeat that? |
Q. Sure. It was a long one. In terms of

clinical decision making by an internal medicine |
physician, you wouldn't be qualified to testify to

that; but if there was some underlying ethical issue |
presented, that you would be able to comment on?

A. Correct.

Q. Okay. What was it that you were called |
upon to do in this case?
A. To examine the record and ascertain if |
the clinical care providers were meeting the ethical
standards that have been developed by professional
organizations in the delivery of healthcare inside |
correctional facilities.

Q. Is meeting the ethical responsibilities

Page 21
different from the standard of care applicable to
physicians?
A. Say that again.
Q. Sure. Is meeting ethical
responsibilities different from the standard of care
applicable to internal medicine physicians and
psychiatrists?
A. So the ethical conduct of clinicians,

psychiatrists, any physician is prior to the standard
of care usually. So the idea that an individual can
meet standard of care while being egregiously
unethical just seems sort of impossible. So, yeah, in
a sense, standard of care requires that a physician be
ethical.

Q. Okay. But your purpose is not, nor would
you be comfortable opining as to the standard of care
for an internal medicine physician?
A.
there's an ethical conflict or there is a deep policy
problem then, yes, I could opine on that.

Q. Okay.

A. It would not be --like I'm not -- I'm not
qualified to opine on what drug should be prescribed,
for example.

Again, if it relates to something where

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Q. Is it your opinion that NCCHC 1 You know, it's meant that the individual
accreditation is a requirement? | 2 who's in a camera cell should be watched by -- and
A. No, it is not. 3 actually it's important to say this -- a clinician and
Q. Okay. Is it -- did you find violations 4 notacorrectional officer, you know, in -- you know,

of NCCHC guidelines? | 5 entirely, not just 15-minute checks.
A. Yes. —6Q. Are you suggesting a clinician should be
Q. What were they? 7 dedicated to one-on-one observation of Mr. Whitehurst?
A. So I think -- I mean I list a few in the 8 A. Yes.

report, including the use of prolonged restraints, | 9Q. A clinician meaning a nurse? A
seclusion, solitary confinement. 10 physician? |
Q: Is prolonged restraint -- is that a 11 A. So in the case of Mr. -- so I know, you
corrections side or is that a medical side? 12 know, he had a one-on-one with a nurse. I'm not --

A. What do you mean? 13 it's not clear to me that she was monitoring

Q. The use or the decision to place an 14 continuously, you know, not -- you know, one-on-one
inmate in solitary -- or in a restraint chair, is that 15 doesn't simply mean checking in intervals. It means

a medical choice or a corrections choice? 16 consistent viewing of a screen, a monitor.

A. So all of these choices are intermingled 17 OQ. And that, in your opinion, should be

because the individual has a serious mental illness; 18 performed by a clinician, be it a nurse or a doctor,

and so the corrections side should be working 19 one-on-one on Mr. Whitehurst?

carefully with the medical side to administer whatever 20 A. Correct.

kind of seclusion or restraint they deem appropriate, | 21 Q. Okay. Did you review or did you see the

with the knowledge that such restraint is actually 22 extraction video of Mr. Whitehurst?

contraindicated for individuals who have serious 23 A. I did.

mental illness because it can exacerbate the symptoms 24 Q. Okay. Did you know the conduct which led

Page 27 Page 29

and so -- so that was -- you know, that was a key -- 1 to the extraction?

in my opinion, that was a key transgression of the -- 2 A. I did read about it.

you know, the guidelines of the National Commission. 3Q. Did you feel that it was appropriate

Now, that's not to say restraint 4 after that conduct where he had barricaded himself in

seclusion is completely off the table; but if'a person 5 asolitary cell, torn the bed out of the floor that

is in a state of, you know, serious crisis, has a 6 he was appropriate for a restraint chair at that

serious mental illness and is decompensating, that's 7 point?

what made me feel as though they transgressed the 8 A. I think yes. So I would say -- and

standard presented by the National Commission. 9 again, you know, this is from my reading of the

Q: Is it your opinion that Mr. Whitehurst 10 records. I don't -- I didn't see video of prior

should not have been placed in a restraint chair? 11 behavior, but my -- my view on this is that restraints

A. Well, like I said, restraint chairs may 12 would be appropriate for a period of time such that he
be appropriate for a time. My understanding was he 13. could be observed and then transferred to an adequate
was in it for longer than eight hours and that -- that 14 therapeutic setting.

flies in the face of the guidelines that I've 15 Q. Such as?

reviewed. 16 A. A hospital.

Q: So is the eight hours in and of itself 17 Q. The decision to transfer to a hospital

the violation that he was in a restraint chair for -- 18 would be a clinician's decision, correct, based upon

A. Well, there's other -- there's other 19 their observations?

aspects to that guideline, which include careful 20 A. Well, I'm again gleaning from the

monitoring, 15-minute checks, periodic breaks if 21 guidelines I've read, which is that if an individual
possible. You know, he was in a camera cell. So 22 needs to be in restraint for such a long period of
essentially there was a clinician that was watching, 23 time, they are not in a therapeutic setting. In fact,

like, at all times, not just through intervals.

such a long period of restraint is often considered a

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| 1 standards is to demonstrate that you have standards, 1A. When an individual is in crisis, when
| 2. policies, and practices that are clearly documented. 2 they're in a camera cell, they should be
3 I do not believe that CCI had those things. 3 comprehensively evaluated on a daily basis.
| 4Q. Okay. Did Lackawanna County Prison have 4Q. In addition to being watched one-on-one
| 5 policies and procedures which governed medical care? 5 by aclinician around the clock?
| 6 A. So I did review a couple of their 6 A. I believe so.
| 7 policies and they do exist. They are rather vague and 7Q. Okay. So what you're saying here is
| 8 broad and I believe they leave quite a bit of 8 adequate staffing would require round-the-clock
9 discretion to the contractors or providers, which 9 observation by a trained clinician of Mr. Whitehurst
| 10 makes sense because you would assume the contractors 10 as well as daily intervention by a psychiatrist?
| 11 or providers would bring their own policies and 11 A. I didn't say intervention, but
| 12. practices and I don't -- I didn't see any of those 12 evaluation.
13 from CCI. 13 Q. Okay.
14 Q. Okay. Anything else as it relates to the 14 A. Absolutely, and the -- the rationale
15 guidelines? | 15. there is that the services provided inside of the jail
16 A. Not at the moment. 16 should meet a community standard and that would be a
17 Q. Okay. CC -- looking at page 8, "CCI did 17 community standard. You know, in inpatient
18 not have adequate staffing and/or medical and | 18 psychiatric facilities, that's the community standard.
19 psychiatric training in regards to its nursing staff 19 There's rounding every day and -- you know, so every
20 and psychiatric providers." What's the basis of that 20 other day is not sufficient.
21 opinion, Dr. Sisti? 21 Q. Is this written down anywhere, this
22 A. The depositions I read where they -- 22 standard that you're talking about? Where does it
23 where everyone -- in fact, even Dr. Mallik and 23 come from?
24 Dr. Zaloga, Nurse June Reed -- all described no 24 A. So I have reviewed the APA standards that
Page 35 Page 37
1 training. 1 describe the evaluation process. The Journal of the
ZO! How about adequate staffing? 2 American Academy of Psychiatry and the Law has
| 3A, So again I'm gleaning that from the 3 articles on how best to manage individuals in crisis.
4 depositions I reviewed, in particular Nurse Reed. 4 My knowledge of inpatient psychiatric facilities as
| 5 There was another deposition that counsel just 5 representing the community standards inform my opinion
6 provided me from another nurse who described the lack 6 here. So is there one place where this is? No.
7 of personnel; and then I think, more importantly, the 7Q. Okay.
8 fact that Dr. Mallik himself was only present I think 8 A. I mean it's a standard that is met
9 six hours a week or something for, you know, a 9 through the professional -- you know, sort of
| 10 population of inmates who, you know, number in the 10 professional consensus.
11 thousands; and, you know, not to say they all needed 11Q. Was Mr. Whitehurst suffering from the
12 psychiatric care, but it seemed to me that that was 12 effects of spice, the effects of mental illness, or
13. not a sufficient number of hours. The other -- you 13. both, in your opinion?
14 know, other correctional facilities that I've worked 14 A. Again, not being a clinician or a
| 15 with have full-time psychiatrists on staff. 15 psychiatrist, I hesitate to, you know, make a
16 Q. Did you read in Dr. Mallik's transcript 16 conclusive statement on that, but the deeper question
17. where he said everybody that was in a camera cell 17 is that is there a distinction here between an
| 18 would be seen by him every two days? Were you aware | 18 intrinsic mental illness or one that's caused by spice
19 of that or whenever he was present in the facility? 19 and -- okay.
20 A. Yes. 20 Q. Go ahead. I'm sorry.
21 Q, Okay. And is that, in your mind, not 21 A. I was just going to say and I would argue
22 appropriate? 22 that his mental illness was probably exacerbated by
23 A. Insufficient. 23 spice, but that he did have a psychosis spectrum
| 24 Q. Why is that? 24 disorder; and, you know, the literature now is

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Q, Okay. In Dr. Mallik's transcript though,
however, he did review his notes and read them into
the record; correct?
A. In which?
Q. In his deposition. You were talking
about being unable to read his records. So from
his -- from his deposition transcript, were you able
to glean what was in those progress records and
orders?
A. No, I wouldn't say I was able to glean
the specific details of those progress notes.
Q. Okay. Were you aware that in between
May 24th and June 8th of 2015 that Dr. Mallik, alon
with Nurse Moritzkat, saw Mr. Whitehurst every two!
days and that a progress record was entered?
A. I am aware that he did see Dr. -- see
Mr. Whitehurst every two days and I am not aware
that -- however, that he was actually evaluated every

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2,
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17
18

Q. Okay. And so we do know that -- and
we'll use the term interaction just to be fair.
Whatever interaction that Dr. Mallik had with
Mr. Whitehurst he at least recorded in a progress note
and entered orders on the chart?

A.
that would be true. I don't know about the actual
progress notes and where they reside though.

Q.
You say, "CCI entered into a contract with Lackawanna
County that was fundamentally conflicted." What's the

Again I don't -- yes. I mean I guess

Okay. I want to talk about the contract.

basis for that? And I'm looking at page 8 of your
report.
A.

not use outside hospitalization because it would

So there appeared to be an incentive to

affect the cost of the care for particular inmates,
and there were I believe provisions in that contract
that made it more -- that -- so let me start -- let me

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19 two days. 19 think this through because my impression was
20 Q. Okay. | 20 Dr. Zaloga's contract with the county aimed to
21 A. He might have looked in and saw him. I | 21 minimize the cost of caring for individuals inside the
22 don't know what that means. I don't know what the -- 22 jail.
23 you know, I don't know what was done, what kind of} 23 Insofar as he could do that, he I believe
24 care was delivered, but yes. I would say, yes, every | 24 hesitated to use outside providers -- in other words,
Page 43 Page 45
1 two days they interacted. 1 transfers to hospitals -- because they're much more
2 Q: They interacted and that interaction was 2 expensive than treating in-house. Now, I do
3 recorded in progress notes drafted by Dr. Mallik along 3 understand that the county would end up paying that
4 with corresponding orders in the chart; correct? 4 tab, but he in communications with the county
5 A. That's a -- that would I believe be true. 5 commissioners has -- I believe has -- and I believe
6 Let me just ask you -- 6 I've read some minutes from these meetings where he
7 Q, Sure. 7 describes trying to minimize the cost for taxpayers.
8 A. -- about the progress notes because I'm 8 Q. My question is this is a situation
9 not sure I have them. 9 where -- based upon your review of the contract where
10 Q. Yeah. 10 it's a cost passed through to the county; correct?
11 A. If you have a copy, a hard copy, that 11 A. Yes.
12 might be helpful. | 12 Q. So, in other words, if someone -- if an
13 Q. Yeah. What I'm looking at, Doctor, 13 inmate were to be sent to an outside facility, that
14 are -- and they're Bates stamped 198 through 208, 14 money is paid by the county as opposed to Correctional
15 which I believe are the orders and the progress notes 15 Care, Inc.?
16 for Dr. Mallik. 16 A. So to -- so I understand what you're
17 A. Yes. I recognize the writing. So these 17 asking.
| 18 I've seen. 18 Q. Right.
19 Q. Okay. 19 A. The incentive is to continue to have the
20 A. Yes. 20 contract by showing that you can save the county
21 Q. And essentially what -- 21 money, is to continue to be contracted by the county
22 A. But I haven't -- I have no idea what they 22 because you are efficient and you save the county
23 say and I don't know -- I've not seen anything 23 money.
24 transcribed so -- 24 Q. Well, the other alternative is there are

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| 1. suffering a psychiatric emergency? —1Q That was May 25th. |
| 2 A. Yes. | 2 A. Okay. And he was in the restraint chair
'3Q. When? | 3 for how long?
| 4 A. Probably from the moment he walked in the 4Q. That I'm not -- it has 23:50 SERT team
| 5 door. | 5 called and then 12:25, 4:40, and then 9:00 --

/ 6Q. So it's your contention from May 24th of | 6 A. Right.
| 7 2015 through June 9th of 2015 Mr. Whitehurst wasina | 7 Q. -- the next morning.
| 8 continual psychiatric emergency state? | 8 A. Yeah. So I do recall that. There were
| 9A. It actually worsened so yes. | 9 like nine hours where I don't know if he was checked
(10 Q. It worsened after he was extracted from | 10 physically.
| 11 his cell? His psychiatric emergency became worse 11 Q. Okay.
12 after that? 12 A. Physically checked. So on that timeline
| 13 A. Well, I believe it worsened just 13 I don't see any evidence that he was actually checked
14 longitudinally through time. So it was exacerbated 14 physically at intervals. He might -- you know, he was
15 but, yeah, it continued to get worse. 15 monitored by camera, but did they walk into the cell
| 16 Q. Okay. Number 5, "It appears Dr. Zaloga | 16 and actually check in intervals?
17 was unprofessional and on several several occasions 17 Q. Well, I can show you the records.
| 18 demonstrated disdain for his nursing staff." What is 18 A. Yeah.
19 that based on? 19Q. And just so we're working off the same
20 A. That was based on Nurse Reed's discussion 20 page, going from the SERT chair down, would that
| 21 of how Dr. Zaloga would yell at the staff. 21. reflect that it looks like the nurses are actually
22. Q. Only Nurse Reed though? 22 examining him as opposed to just looking at the
| 23. A. Yes. 23 screen?
| 24 Q. When Mr. Whitehurst was in the restraint 24 A. Yes. So what happened here was that they
Page 51 Page 53
| 1 chair I believe on May 25th and 26th, are there 1 checked on Mr. Whitehurst at 11:50 p.m. and at
| 2 nursing notes which reflect periodic checks on him? 2 4:40 p.m., physically checked the -- actually I take
| 3 A. I believe so. 3 that back. It does -- again it does not appear to me
| 4Q. Okay. If Dr. Evans testified that there 4 from this record that you can -- that we can say with
5 was no evidence at all of any nursing checks of him 5 confidence that he was checked between the hours of
| 6 while he was in the restraint chair, would that be | 6 11-- from 11:50 p.m. on 5-25 and 9 a.m. Something's
| 7 incorrect? | 7 wrong with the dates here but --
| 8 A. I believe so. I believe that they -- 8 Q. Okay.
| 9 that -- so I don't know if they were physical checks 9 A. But, no, I would say that one cannot -- I
| 10 where they actually went into the cell; however, the 10 cannot see how I can say one way or the other whether
| 11 nurses did obviously monitor him on the screening. 11 they checked Mr. Whitehurst's restraints physically
12 Q. Okay. 12 during that duration of his time in the restraint
| 13 A. So I don't recall if they actually went 13. chair.
14 in and checked the actual tethers that are used in the 14 Q. Isee. You just can't say one way or the
| 15 restraint chair, which is something that they're 15. other based on the report?
| 16 supposed to do every 15 -- every so often. 16 A. Well, I would assume that they would have
17 Q. For example -- and I could just read it 17 documented if they went into the cell and checked the
| 18 to you. "Inmate removed from restraints. No | 18 straps and things.
19 circulatory impairment. Positive pedal and radial (19 Q. How would they get vital signs?
| 20 pulses." This -- "No discoloration." This 20 A. Can I see that again?
| 21 demonstrates they actually went in and examined him; | 21 Q, Sure.
| 22 correct? (22: A. Did they -- did they check the
}23 A. What -- so what day was -- at what point 23 restraints? Did they check the straps? I don't see
| 24 was that? | 24 any evidence here that they did anything related to

14 (Pages 50 - 53)

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report and the conclusions you draw, is it your | 1 So I don't know what Dr. Williams is |
position that my client, Dr. Mallik, breached any type | 2 saying in terms of guidelines to, like, lay out the |
of standard of care that might be applied to him as a | 3 frequency of rounding; however, I would argue that |
hiatrist? 4 rounding is part of a professional standard of

eee | ones pase’? |
A. So insofar as there are standards of care | 5 continuity of care.

that have been issued by the various accreditation | 6 Q. Okay. And it is his opinion at the end
bodies and professional organizations and insofar as | 7 of that paragraph that the frequency of assessment by

those are, you know, ethical standards that may ramify | 8 Dr. Mallik met the standard of care. So without going
across Clinical issues, I would say yes. | 9 through all that again, your opinion is that you
OQ; Okay. And, you know, your report isn't | 10 disagree with that or maybe you don't?

extremely long. It's only, you know, eight or nine 11 A. Well, I found that that paragraph where

pages, with the exception of the references. What | 12. it's linked up with reimbursement purposes to be
specifically, in your opinion, did he -- what ethical 13 problematic. I mean it was like a speculation around
violations did he commit that you think might amount 14. why rounding happens and that's not actually -- that's

to a breach of the standard of care? | 15 nowhere in the literature. I've never heard that

A. It was not clear to me that Dr. Mallik 16 rounding is a result of billing -- for billing

was able to provide comprehensive evaluation and 17 reasons.

treatment to the patients of the jail, in particular, 18 It is a matter of quality comprehensive

Mr. Whitehurst, because he was not present enough to 19 healthcare that the attendings -- and, in this case,

be able to do that and so that would be one of the | 20 Dr. Mallik is an attending -- round and evaluate their

sort of main challenges. To provide adequate 21 patients on a daily basis, you know; and I would
comprehensive mental healthcare requires a certain 22 construe the Delta Block as almost like an Intensive
amount of time and presence, which I do not believe, 23 Care Unit where there's very, very sick individuals

from what I read, that Dr. Mallik provided. 24 sometimes and, in Intensive Care Units, doctors round.

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Q. Okay. So I'll jump right ahead to that. | 1Q. Now, there was some testimony previously

Did you have an opportunity to review any of the | 2 about a -- and I think it was specifically in regards

expert reports from Dr. Williams? | 3 to the daily rounding requirement and you had

A. Yes. | 4 mentioned a community standard?

Q. Okay. 5 A. Professional standard.

A. Penn colleague. | 6 Q. Okay. Did you use community standard or

Q. In the first report on page 4, he 7 am | -- did I find that from somewhere else?

addresses this and you can -- I don't know if your | 8 A. Did I just say community standard?

counsel or -- | 9Q. No, no, no. I wrote that down before, as

A. I have it here on my screen. | 10 I thought that was part of your testimony, but you can

Q: Okay. | 11 clarify.

A. Yeah. | 12 A. I would clarify and say it's a

Q. So page 4 it says, "Regarding the | 13. professional -- it's a professional standard --

appropriate frequency of psychiatrist rounding on | 14 Q. Okay. |
patients and, therefore, the appropriateness of | 15 A. -- to round and to essentially maintain

follow-up intervals generally, no guideline exists | 16 constant vigilance for very sick patients. |
specifying the frequency to deliver the best care." 17 Q. So do you have any understanding of

Do you not agree that with statement? | 18 community standards as they apply to medical doctors?

A. There are particular professional | 19 A. With regard to what?

standards in medicine that may or may not be written | 20 Q. The standard of care.

down in a particular place, but rounding is 21 A. And specifically what standard of care? |
conventional in every medical setting that I've ever | 22 For what?

been exposed to, daily rounding; and for patients who | 23 Q. For any --

are extremely ill, it happens sometimes twice a day. | 24 A. For psychiatrists? |

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| 1A. So I believe in his deposition he may | 1Q. And, again, it's not in your report?
| 2 have gestured to certain interactions with that -- ) 2A. No. I didn't -- I have taught it and |
3. with Mr. Whitehurst, but I cannot say for sure how | 3 read it, but I'm having a mind blank on it. |
| 4 long those interactions lasted; but again I'm, you | 4Q. Yeah, and it's not a test. I'm not --
| 5 know, thinking back to the deposition -- 5A Yeah, no. |
| 6 Q. Sure. | 6 Q. I just wanted to know your -- |
7A. -- and not the progress notes. | 7A Yeah. I didn't use it in my report. |
8Q. Is it your opinion that Dr. Mallik 8 MR. FRANCIS: Okay. Fair enough. I |
| 9 specifically did not provide adequate, competent, an 9 believe that's all the questions J have. |
| 10 appropriate medical care to Mr. Whitehurst? 10 --- |
| 11 A. That is my opinion. | 11 EXAMINATION
12 Q. Okay. Do you believe you have standing | 12 BY MR. HEISLER: |
13 to make that opinion? 13 Q. Just a question or two. You used the
14 A. Insofar as I understand the guidelines 14 term National Commission on occasion. When you refer
| 15 issued by accreditation bodies and professional 15 to the National Commission, are you referring to the
16 societies regarding how adequate, comprehensive, | 16 National Commission on Correctional Health Care?
17 and -- adequate, comprehensive psychiatric care is = 17 A. Iam, yeah. Sorry. I thought I'd
18 grounded in. Ethical psychiatric care, yes. 18 shorten it.
19 Q. Okay. And that's based on? 19 Q. That's fine. And have you ever checked
20 A. Because by not providing -- by not 20 out their website?
21 providing ethical -- you know, the breaches of ethics | 21 A. Yes.
22 drive oftentimes clinical shortcomings. 22 Q. Okay. I'm going to ask you something,
| 23 Q. That's based off of the guidelines of the 23 whether this is a fair statement. "NCCHC's standards
24 APA; correct? 24 present recommendations for the management of a
Page 67 Page 69
1A. Correct. 1 correctional health services system." Does that
| 2 Q. Are you a member of the APA? 2 coincide with what you believe this organization does?
3 A. I am not. I'm not a physician. 3 A. Yes.
4Q. Are you aware of the Mental Health 4 MR. HEISLER: I have no further
5 Procedures Act? 5 questions.
| 6 A. Yes. 6 <--
|; 7Q. Okay. Tell me what you know about that | 7 EXAMINATION
| 8 or your understanding. 8 BY MR. PARKINS:
9 A. I don't -- I'm -- so can you ask me 9Q. Doctor, I'm going to go through some of
10 specifically about -- I don't recall the -- I'm having | 10 the points that Attorney Healey and the other
/11 amind blank right now, but I've read it. I know it, | 11 attorneys went over with you. I want to talk about
12 but! forget it. 12 the ethical standards versus standard of care. Okay?
13 Q. Okay. 13 A. Okay.
(14 A. I don't recall specifics. 14 Q. And you were specifically asked I think a
15 Q. Okay. Was it a consideration of yours -- 15 couple of times whether or not you're a doctor and
16 because I don't believe -- 16 whether you can comment on standard of care. Do you
17 A. It was not in the report. 17 recall that?
18 Q. Okay. So it's not in your report -- 18 A. Yes.
| 19 A. Yeah. 19 Q. And I believe your testimony was that the |
| 20 Q. -- correct? Regarding any type of 20 ethical standard is not always analogous to the |
| 21. standard of care applied to the Mental Health 21. standard of care; correct? |
22 Procedures Act, is it your opinion that Dr. Mallik 22 A. I believe -- I believe I -- I don't think
23 breached that applicable standard? 23 I used the word analogous, but they're not -- they're
24 A. I can't say. Yeah. 24 nota hundred percent congruent sometimes, yes. |

18 (Pages 66 - 69)

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obviously I think we'd all agree prison medical has to 1Q. You can answer.
provide medical care and psychiatric care; correct? 2 MR. FRANCIS: Objection to the form.
A. Absolutely. 3. BY MR. HEALEY:
Q. Is there an ethical requirement for a 4Q. Your characterization that they shouldn't
prison medical to provide detox services? 5 be used as a holding pen for someone with mental
A. Absolutely. 6 illness, based on your review of the record, is that
Q. And to the extent that Mr. Whitehurst was 7 what happened in this case?
suffering from a spice withdrawal, based on your 8 MR. FRANCIS: Object to the form.
review of the record, was ethical treatment provided 9 BY MR. PARKINS:
in terms of detox? 10 Q. You can answer.
A. So -- 1] A. Can I answer? Yes, I would say so.
MR. HEALEY: Objection. Sorry. Go | 12 MR. PARKINS: All right. Do you want
ahead. 13 to -- he's got to switch cards.
THE WITNESS: Oh, I thought you -- so 14 THE VIDEOGRAPHER: The time is now 2:46.
initially I couldn't tell because I couldn't really 15 This ends media unit one.
decipher the notes, but when I -- I read some of the 16 (A brief recess was taken.)
other -- some of the other reports. It appeared that 17 THE VIDEOGRAPHER: The time is now 2:47.
he was being given Ativan IJ believe and antipsychotics 18 This begins media unit number two. Back on the
and, again, not being a clinician, but I do -- I do 19 record.
read. I do know that those are often used for 20 BY MR. PARKINS:
withdrawal. 21 Q. So we were talking about the camera cells
The problem I feel like is about the 22 or the solitary confinement; right?
duration of the seclusion and the fact that it 23 A. Yeah.
exacerbated his underlying condition. 24 Q. And you mentioned a lot during your
Page 75 Page 77
BY MR. PARKINS: 1 testimony -- you were using the term serious mental
Q. So let's talk -- let's talk about two 2 illness.
things, the seclusion and the restraint chair. Okay? 3 A. Correct.
A. Okay. 4Q. Is that correct?
Q. What is -- could you just first describe 5 A. Yeah.
generally the ethical considerations regarding 6 Q. How would you define that?
seclusion in camera cells? 7A. So I wouldn't define it. IMH defines it
A. So seclusion -- I mean let's start 8 it as really three conditions: Major depressive
globally and then work our way down. Solitary 9 disorder, schizophrenia, or bipolar disorder.
confinement is generally considered by most (10 Q. And based on your review of the record,
international conventions to be essentially torture 11 was Mr. Whitehurst suffering from a serious mental |
and it is unjustified in the treatment or the 12 illness from May 24th of 2015 through June 9th of |
seclusion of individuals with mental illness when 13. 2015?
there's an alternative -- when there's alternatives (14 A. It appears that he had a --
available to provide that individual adequate 15 MR. FRANCIS: Objection to form. You can
treatment to stabilize the individual. They should 16 answer.
not be used as essentially holding pens for 17 BY MR. PARKINS:
individuals who are in psychiatric crisis. 18 Q. You can answer.
Q. Is that what was done in this case? | 19 A. It appears that he was experiencing a
THE VIDEOGRAPHER: Counsel,[ have one | 20 psychotic break, whether it was secondary to spice or
minute. 21 something else. Again as we just -- as I just |
BY MR. PARKINS: 22 described is not relevant, but it appears that from my
Q. Is that what was done in this case? 23 reading of the records and, you know, viewing of the
A. Sorry? 24 video that Mr. Whitehurst was experiencing a serious

20 (Pages 74 - 77)

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appropriateness of the restraint chair.
Q. Okay. But I think what I'm asking is
those policies on their face, are they adequate or are
they defective, the Lackawanna County restraint chair
policies?
A.

intervals and things like this, they do get some

They reflect the -- so every 15-minute

things right in there. The issue, however, is the
duration and they peg it at like -- 10 hours I think
is like the max and that's not what I'm -- my
understanding is would be the ethical consensus on
that.
Q.

County's policy allows for placement in the restraint

So it's your opinion that the Lackawanna

chair for excessive periods of time?
A. Yes.

MR. HEISLER: Objection.

MR. FRANCIS: Join to the form.
BY MR. PARKINS:

Q. Is that a "yes"?
A. That is a yes.
Q. Specifically the policies of Correctional
Care and Dr. Zaloga in regards to solitary and the
24 restraint chair, defective, adequate, or nonexistent?
Page 83
A. Nonexistent.
Q. Why do you say that?
A. Because they don't exist. He has no

policies that guide the clinical matters involving
seclusion and restraint and he said so himself.

Q. In his deposition?
A. Correct.
Q. Does he have any medical written policies

whatsoever?

A. He does not.

Q: Okay. And "he" being Dr. Zaloga; is that
correct?

A. Correct.

Q. Is the utter failure to adopt a written
policy an ethical violation and/or a violation of the

standard of care?

MR. HEALEY: Objection.

THE WITNESS: Yes. I've never
encountered a medical provider, you know, a service
provider company that has nothing -- has no policy
book, no employee handbook, nothing. I've never
encountered that.

BY MR. PARKINS:
Did you have a chance to review

Page 84
Sections 9.01 through 9.04 of Lackawanna County's |
policies regarding prison medical?
A.

have it in front of me. The pages are a little out of

I did. Let me just bring it back up so I

order but, yes, I did.
Q.

adequate substitution for policies on behalf of

In regards to those policies, are they an

Correctional Care?

A. No.

Q. Why?

A. Because they provide discretion. They

offer discretion to the provider and it is I guess a

safe assumption that the provider would have their own
processes and policies in place, which I don't believe
they do.
Q.

not Lackawanna County's policies and Correctional

Do you have an opinion as to whether or

Care's lack of policies caused some of the injuries
sustained in this case?

MR. HEALEY: Objection.

MR. HEISLER: Objection to form.

MR. FRANCIS: Join.

THE WITNESS: Insofar as there is no

standard operating procedure, no resource for

Page 85
employees to draw upon, no way for clinicians employed
by CCI to know that they're practicing at or above the
standard of care, no policies involving training and
expectations, no policies involving the medical
decision making when it comes to individuals with a
serious mental illness who are restrained and in
seclusion, yes.

BY MR. PARKINS:

Q.
here a little bit. We talked about the solitary.
Let's talk specifically about the restraint chair.

Let's -- and I know I'm jumping around

What are the ethical considerations in regards to
placing an inmate in a restraint chair?
A.

intervention that is not to be used haphazardly of

Well, first off, again this is another

course. It should be rarely used, if it all; and it

is considered, if it is done inappropriately or if it

is used excessively, to be a fundamental violation of
human rights.

Q.

your opinion as to whether or not Mr. Whitehurst's

And, in your review of this case, what's

placement in the restraint care was ethical and

excessive -- or excessive?

It was both. It was excessive. It was

22 (Pages 82 - 85)

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| 24 community standard or the ideal community standard?

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community standard for care, so typically the idea
there is that the healthcare provisions inside of a
correctional institution should meet or exceed the
community standards ideally. You know, that -- you
know, as an ethicist, I think about what ought to be
the case, not what is the case, and so it ought to be
the case that the community standard should be met
within inside the jail.

Q.

community standard or is it supposed -- the actual

Is the jail standard supposed to be the

Page 92 |
whom the company may contract. All decisions 1 A. The ideal community standard.
regarding hospital admissions with respect to care are 2Q. And can you explain the difference there |
medical decisions to be made by the appropriate | 3 or what that means? |
medical personnel. Every effort will be made to 4 A. So insofar as there's a -- sort of an |
provide as much care as possible on site so as to 5 aspirational goal that individuals with serious mental
minimize the disruption in correctional staffing." 6 illness will receive care, appropriate care at the
That -- the last sentence about minimizing -- 7 right place, at the right time, that there will be a
A. Yeah. 8 continuity of treatment options from outpatient care
Q. Or incentivizing onsite treatment -- 9 to sort of inpatient, but then emergency care that |
A. Right. 10 would be referred out, that would be -- that would be |
Q -- is that an ethical provision? 11 kind of the aspirational community model. That should

MR. HEALEY: Objection. 12 be what correctional facilities strive to meet.

THE WITNESS: It -- I mean it's -- it 13 Q. So the -- so the standard to be applied
creates again this perverse incentive to not transfer 14 incorrectional facilities actually exceeds the
patients to the appropriate setting, which is kind of 15 community standard or is a higher standard; is that
what I was trying to get at earlier. The idea that 16 correct?
staffing rearranging or resource shifting is a problem 17 A. I would --
does not override or supersede the rights of the 18 MR. HEALEY: Objection.
individual patient to be provided with adequate 19 MR. FRANCIS: Object to the form.
healthcare in the setting that is indicated or is 20 BY MR. PARKINS:
appropriate. 21 Q. Is it a higher or lower standard?

BY MR. PARKINS: 22 A. I would say it should be at the very

Q. You were asked a little bit about 23 least the same, if not better, because, remember,

standards in correctional center -- or correctional 24 these are individuals who have no choice in how to
Page 91 | Page 93

facilities versus jails or prisons versus jails? 1 access healthcare and I believe, you know, there's

A. Um-hum. 2 case law on this where it's -- where it's shown that

Q. Do you recall that? 3 these individuals have a constitutional right to

A. Yes. 4 adequate healthcare and mental healthcare.

Q. When it comes to medical ethics, does -- 5'Q: In regard to the -- in regard to the

do the ethics change whether or not you're in a jail 6 restraint chair use, Attorney Healey showed you a copy

or a state prison? 7 of the nurse's notes from the first day in the

A. No, no. 8 restraint chair. Do you recall them?

Q. And when you talk about the standards, 9 A. Yeah.

the standards for care in jails, how does that relate 10 Q. And I think there was a nurse checking

to the -- I think you were being asked about the 11 when he went in the chair, when he came out of the

community standard. Is it higher or lower? The same? 12 chair, and once in between; is that correct?

A. Oh, okay. Yeah. So in terms of the 13 A. I believe it was twice in between, but it

was -- the first one was essentially when he went in
like 20 -- 30 minutes later.

Q. So it was like 12:30 -- or 11:30 at night
or 12 -- or 11:50 at night?

A. Eleven --

Q. Eleven fifty at night, 4:30 in the

morning, and then 9:00; correct?

A. Thereabouts.

Q. So is -- should somebody in a restraint
chair be checked by medical more or less than once
every four hours?

24 (Pages 90 - 93)

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1 of patients? 1 for the psychiatric management of patients through his |
2A. I don't believe so. 2 own practices." What's your response to that? |
3 MR. FRANCIS: Objection to form. 3A. I mean if there -- if CCI has policies,
4 MR. HEALEY: Objection. 4 I'd like to see them. I don't believe, you know, they |
5 MR. HEISLER: Objection. 5 do and, if they do, please show me.
6 THE WITNESS: I don't believe so. 6 Q. Based upon Dr. Zaloga's deposition --
7 BY MR. PARKINS: 7A. He --
8 Q. I'm going to show you a copy of 8 Q. -- do they have any policies?
9 Dr. Folks's report. 9 A. I believe he said his policy is, like,
10 A. Okay. 10 right treatment, right time or something like that.
11 Q. Did you have an opportunity to review 11 Q. Is that an ethical policy?
12 that prior to today? 12 A. It's not a policy. I wouldn't even --
13 A. Yes. 13 you know, it's not even something to entertain as
14 Q. And could you turn to page 25? 14. ethical or not.
15 A. I'm just going to use my screen copy 15 Q. And is Dr. Mallik's personal practice a
16 here, if that's okay. 16 substitute for written policies?
17 Q Yeah. } 17 MR. FRANCIS: Object to the form.
18 A Yes. ‘ THE WITNESS: A substitute? No.
19 Q. I just want to talk to you about some of 19 BY MR. PARKINS:
| 20 the -- 20 Q. In paragraph 4 he says, "In his
21 A Oh, yes. 21. discussion of the medical ethics principles of justice
22 Q Some of his comments on your report.) 22 and fairness, Dr. Sisti apparently ignores the fact
23 Okay? 23. that these are incarcerated individuals and treatment
(24 A. Yeah, sure. 24 of mental health conditions for them in a setting
| Page 99 Page 101
1Q. The -- number 2 where he says, "I did not 1 other than the jail involves other security logistical
2 see in the record that Drs. Mallik and Zaloga were 2 and judicial factors." Does the fact these people are
3 largely absent from the facility. I disagree with his 3 incarcerated change the ethical guidelines?
4 conclusions that psychiatric and nursing staffing at 4 A. Yes. It makes them more robust, in fact.
5 LCP was below the standard of care." Could you just 5Q. Why?
6 state how you came to the conclusion that Drs. Mallik 6 A. Not less.
7 and Zaloga were largely absent and what you relied 7Q. Why?
8 upon in forming that conclusion? 8 A. Because they're a vulnerable population
9A. Yes, I can. The contract, which 9 who has a constraint choice around their medical
10 stipulates six to nine hours for Dr. Mallik, means 10 decisions and choices so yeah. In fact, there are
11 that 34 -- well, let's say a workweek is 40 hours, 11 differences and they happen to be more stringent.
12 which is probably more for most physicians but, you 12 Q. Okay. Paragraph 5, "These policy
13 know, six to nine hours is a fraction of that. So 13 statements of psychiatric organizations primarily
14 when say absent, I don't mean he wasn't there for 14 address long-term restrictive housing of inmates with
15 the contractual period. He was. I have no reason to 15 chronic mental illness."
| 16 believe he didn't fulfill those hours, but those hours 16 A. That's just false.
| 17 themselves were insufficient to manage a case load 17 Q. And, furthermore, let's just say -- let's
| 18 that probably is in the hundreds. So -- you know, so 18 accept it's true for a second. Does Lackawanna County
| 19 that was basically how I thought about it. Yeah. 19 Prison have long-term restrictive housing of inmates
| 20 Q. The next page he says, "I disagree that 20 with chronic mental illness?
/21 there were no policies in place for LCP to guide the 21 A. Yes.
22 mental health screening, management, observation, and 22 Q. And was that something that Amir
| 23 restraint of inmates at the LCP. In addition, CCI 23 Whitehurst was subjected to? |
| 24 depended upon Dr. Mallik to develop treatment plans | 24 A. Yes. |

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1 of Corrections that the medical director be on site 1 FURTHER EXAMINATION |
| 2 more than two days a week, using your reasoning? 2 BY MR. FRANCIS:
(3A, That's not my reasoning. 3Q. Doctor, I just have a housekeeping. I |
4Q. Okay. What is your reasoning? Why does 4 don't know if you provided plaintiff's counsel with a |
5 Dr. Zaloga have to be there? 5 CV or do you have one today?
6 A. I didn't say he had -- I didn't say how 6 A. For my CV?
7 much or how little he had to be there. I just said he 7Q. Yeah.
8 wasn't present. Therefore, it was unclear to me that 8 A. Yes. I do have a -- I thought I brought
9 there was any accountability, any knowledge, any 9 acopy.
10 supervision. 10 MR. PARKINS: It's in that file
11 Q, How do you know he wasn't present? 11 (indicating).
12 A. From depositions -- well, from the 12 MR. FRANCIS: You do have it?
13 nurse -- from Nurse Reed's deposition in particular. 13 MR. PARKINS: I definitely e-mailed them
14Q. Right. Nurse Reed, who was fired for 14 to you.
| 15 having her security clearance pulled; correct? 15 MR. FRANCIS: Okay. I just didn't see it
16 A. Fired for what? 16 in our --
LZ Os Having her security clearance pulled by 17 MR. HEALEY: I have an extra one.
18 the warden. 18 MR. FRANCIS: I don't need it right now.
19 A. I guess so. Is that -- 19 BY MR. FRANCIS:
20 Q. And then you didn't review the transcript 20 Q. The only other question I had, Doctor,
21. of Alexis Moritzkat, who actually cared for the 21 was in your report you reference a number of
22. plaintiff and said there were no problems at all with 22 publications that you've made over the -- your
23 staffing or attendance or anything? You didn't review (23 career?
24 that? 24 A. Yeah.
Page 107 Page 109
1A. I don't have a copy of that. 1Q. Are those references contained in your
2. Q. Right. You reviewed the transcript of a 2 CV?
3 disgruntled nurse, correct, and relied on it? 3 A. Yeah, they are.
4 A, I didn't see it as a -- I didn't see her 4Q. Okay.
5 asa disgruntled nurse. 5 A. Yeah, they should be.
6 Q. No? 6 MS. FREILER: They are.
TA. No. 7 MR. FRANCIS: All right.
8 Q. Her cross-examination didn't strike you 8 THE WITNESS: It's a little hard to find
9 as someone who didn't think she should have been 9 sometimes, but it's a Penn template. In fact, one of
| 10 fired? 10 your experts use the same template.
11 A. I don't necessarily think that a person 11 MR. FRANCIS: Okay. Perfect. That's all
12 who is fired and believes that it was unjust is 12 Ihave.
| 13 disgruntled. They may have a rational set of 13 ---
14 arguments as to why that firing was unjustified. 14 FURTHER EXAMINATION
15 Q. Do you know why she was fired? 15 BY MR. PARKINS:
| 16 A. I don't. 16 Q. Briefly, are you aware -- just because
L7 QO, Okay. Did you read in her transcript why | 17 we're on the topic, are you aware that June Reed
18 she was fired? 18 succeeded in her Unemployment Compensation claim
19 A. No. 19 against --
20 Q. You didn't see that? 20 A. I'm not.
21 A. If I did, I forget. 21Q. -- Dr. Zaloga?
22 MR. HEALEY: Okay. Those are all the 22 MR. HEISLER: Object to the form.
| 23 questions. 23 THE WITNESS: I'm not aware of anything
| 24 --- 24

about June Reed and her --

28 (Pages 106 - 109)

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